                                                                                   FILED
                                                                              September 02, 2021
                                                                             CLERK, U.S. DISTRICT COURT
                                                                             WESTERN DISTRICT OF TEXAS
                      IN THE UNITED STATES DISTRICT COURT                           JM
                                                                  BY: ________________________________
                           WESTERN DISTRICT OF TEXAS                                      DEPUTY
                                   El PASO DIVISION
______________________________________
                                              §
BRANDON CALLIER,                              §
                                              §
                           Plaintiff,         §
                                              §     EP-21-CV-0181-CM
             v.                               §
                                              §
INFUSION CAPITAL GROUP, LLC, a New            §
York Limited Liability Company, DREW          §
MATTHEW HAGERMAN, and MICHAEL                 §
BRINCAT                                       §
                                              §
                           Defendants.        §
______________________________________        §


                PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE

       The Plaintiff and Defendants have resolved their case. Plaintiff hereby requests the

Court dismiss the case against Infusion Capital Group, LLC, Matthew Hagerman and Michael

Brincat with prejudice.


September 2, 2021,                 Respectfully Submitted,




                                  Brandon Callier
                                  Plaintiff Pro Se
                                  6336 Franklin Trail Drive
                                  El Paso, TX 79912
                                  Callier74@gmail.com
                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                   El PASO DIVISION
______________________________________
                                              §
BRANDON CALLIER,                              §
                                              §
                           Plaintiff,         §
                                              §     EP-21-CV-0181-CM
             v.                               §
                                              §
INFUSION CAPITAL GROUP, LLC, a New            §
York Limited Liability Company, DREW          §
MATTHEW HAGERMAN, and MICHAEL                 §
BRINCAT                                       §
                                              §
                           Defendants.        §
______________________________________        §


                                     CERTIFICATE OF SERVICE
        I hereby certify that on September 2, 2021, I caused a true copy of the foregoing,
PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE to be served via electronic mail
on all counsel of record.

September 2, 2021,                       Respectfully submitted,




                                         Brandon Callier
                                         Plaintiff Pro Se
                                         6336 Franklin Trail Drive
                                         El Paso, TX 79912
                                         Callier74@gmail.com
                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                   El PASO DIVISION
______________________________________
                                              §
BRANDON CALLIER,                              §
                                              §
                           Plaintiff,         §
                                              §
             v.                               §     EP-21-CV-0181-CM
                                              §
INFUSION CAPITAL GROUP, LLC, a New            §
York Limited Liability Company, DREW          §
MATTHEW HAGERMAN, and MICHAEL                 §
BRINCAT                                       §
                                              §
                           Defendants.        §
______________________________________        §

                                  [PROPOSED] ORDER

      Upon consideration of Plaintiff’s Motion to Dismiss With Prejudice, it is this, _____ day

of _______________, 2021,


      ORDERED that Plaintiff’s Motion to Dismiss With Prejudice be and is hereby

GRANTED;


SO ORDERED




                                           __________________________
                                           United States District Judge
